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 7

 8                                IN THE UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                            CASE NO. 2:13-CR-00227 GEB

12                                  Plaintiff,            STIPULATION TO SET MATTER FOR CHANGE
                                                          OF PLEA AND REGARDING EXCLUDABLE
13                           v.                           TIME PERIODS UNDER SPEEDY TRIAL ACT;
                                                          [PROPOSED] FINDINGS AND ORDER
14   JOSE ENRIQUE VELARDES ZAZEUTA,

15                                  Defendant.

16

17                                                STIPULATION

18          Plaintiff United States of America, by and through its counsel of record, and defendant Jose

19 Enrique Velardes-Zazueta, by and through his counsel of record, hereby stipulate as follows:

20          1.       By previous order, this matter was set for status on January 16, 2015.

21          2.       By this stipulation, defendant now moves to continue this matter to January 30, 2015 at

22 9:30 a.m. for a change of plea hearing, and to exclude time between January16, 2015 and January 30,

23 2015, under Local Code T4. The United States does not oppose this request.

24          3.       The parties agree and stipulate, and request that the Court find the following:

25                   a)     The United States has represented that the discovery associated with this case

26 includes investigative reports and wiretap applications in electronic form constituting approximately

27 4000 pages of documents. The United States also represents that the discovery includes approximately

28 20 CDs of audio recordings, including intercepted communications, and transcripts and line reports. All

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      Change of Plea and re Excludable Time
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 1 of this discovery has been produced directly to counsel.

 2                   b)     The United States has presented a plea offer to the defendant, who will need to

 3 discuss the agreement with his clients and to consider the discovery provided as it relates to the

 4 provisions of the plea agreements.

 5                   c)     Counsel for defendant believes that the failure to grant the above-requested

 6 continuance would deny him the reasonable time necessary for effective preparation, taking into account

 7 the exercise of due diligence.

 8                   d)     The United States does not object to the continuance and setting the matter for

 9 change of plea.

10                   e)     Based on the above-stated findings, the ends of justice served by continuing the

11 case as requested outweigh the interest of the public and the defendants in a trial within the original date

12 prescribed by the Speedy Trial Act.

13                   f)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

14 et seq., within which trial must commence, the time period of January 16, 2015 to January 30, 2015,

15 inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4] because it

16 results from a continuance granted by the Court at defendant’s request on the basis of the Court's finding

17 that the ends of justice served by taking such action outweigh the best interest of the public and the

18 defendant in a speedy trial.

19          4.       Nothing in this stipulation and order shall preclude a finding that other provisions of the

20 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

21 must commence.

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 1          IT IS SO STIPULATED.

 2 Dated: January 14, 2015                                 BENJAMIN B. WAGNER
                                                           United States Attorney
 3
                                                           /s/ Todd A. Pickles
 4                                                         TODD A. PICKLES
                                                           Assistant United States Attorney
 5

 6 Dated: January 14, 2015                                 /s/ Todd A. Pickles for
                                                           CHRISTOPHER COSCA, ESQ.
 7
                                                           Counsel for Defendant Jose-Enrique
 8                                                         Velardes

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11
                                                   ORDER
12
            The Court ADOPTS the parties’ stipulation. This matter is set for a change of plea hearing on
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     January 30, 2015 at 9:30 a.m.
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            IT IS SO FOUND AND ORDERED.
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     Dated: January 15, 2015
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      Stipulation and Proposed Order to Set            3
      Change of Plea and re Excludable Time
